
600 S.E.2d 469 (2004)
358 N.C. 550
Donna W. WOOD, Administratrix of the Estate of Timothy Joe Wood, Deceased
v.
Monique Nicole WELDON and Unnamed Defendants.
No. 614P03.
Supreme Court of North Carolina.
June 24, 2004.
Bryan T. Simpson, Tracy L. Jones, Raleigh, for Interstate Insurance Company/Harbor Specialty Insurance Company.
C. Murphy Archibald, Jenny L. Sharpe, Charlotte, for Wood.

AMENDED ORDER
Upon consideration of the conditional petition filed on the 5th day of December 2003 by Plaintiff in this matter for discretionary review as to additional issues of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of June 2004."
